                                  In the
                             Court of Appeals
                     Second Appellate District of Texas
                              at Fort Worth
                                 No. 02-23-00370-CV

MICHAEL LOWE, Appellant                      §   On Appeal from 352nd District Court

V.                                           §   of Tarrant County (352-333908-22)

                                             §   August 22, 2024

AMERICAN AIRLINES, INC. AND                  §   Memorandum Opinion by Justice Walker
TAMIKA BARKERS, Appellees

                                    JUDGMENT

      This court has considered the record on appeal in this case and holds that there

was no error in the trial court’s judgment. It is ordered that the judgment of the trial

court is affirmed.

      It is further ordered that appellant Michael Lowe shall bear the costs of this

appeal, for which let execution issue.

                                         SECOND DISTRICT COURT OF APPEALS


                                         By /s/ Brian Walker
                                            Justice Brian Walker
